            Case 1:17-cv-00821-JPO Document 31 Filed 01/24/18 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

AARON RUBENSTEIN,
                                Plaintiff,
                          v.                                           l 7-cv-821 (JPO)

BRUCE R. BERKOWITZ, and FAIRHOLME                                    NOTICE OF MOTION
CAPITAL MANAGEMENT, LLC, and JOHN
DOES 1THROUGH13,
                        Defendants,

                         and

SEARS HOLDINGS CORP.,

                                Nominal Defendant.

               PLEASE TAKE NOTICE that upon Fairholme Capital Management, LLC and Bruce R.

Berkowitz's (the "Fairholme Defendants") Answer, the exhibits A- M attached thereto, the Amended

Complaint, the accompanying memorandum oflaw, the Court's Opinion and Order filed December 11,

2017 (ECF No. 25), and all of the prior pleadings and proceedings had herein, the Fairholme

Defendants, by and through their attorneys, Seward & Kissel LLP, will move this Court before the

Honorable J. Paul Oetken, at the United States District Court, Southern District of New York, 40 Foley

Square, New York, NY 10007, at a time and date convenient for the Court, for an order pursuant to

Fed. R. Civ. P. 12(c) granting them judgment on the pleadings dismissing the Amended Complaint and

such other and further relief as this Court deems just and proper.


                                             SEWARD & KISSEL Lr;,,         (}     I
                                             By~)·~
                                                Mark J. Hyland
                                                Noah S. Czarny
                                                SEWARD & KISSEL LLP
                                                One Battery Park Plaza
                                                New York, New York 10004
                                                Tel: (212) 574-1200

                                                Attorneys for Defendants Bruce R. Berkowitz
                                                and Fairholme Capital Management, LLC
